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            EXHIBIT 4
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                                     November 11, 2021


VIA EMAIL ONLY

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       Re:    Donna Curling, et al. v. Brad Raffensperger, et al., No. 1:17-cv-2989-AT
              Production of privileged Fortalice documents

Dear Adam and David:

        As we have previously indicated to you, the State Defendants object to the release of
the documents identified in the Fortalice privilege log designated as state secrets. The
documents are highly confidential and reveal the very architecture of the State of Georgia’s
election system. Recognizing the fundamental importance of elections security, the United
States Department of Homeland Security designated elections infrastructure as “Critical
Infrastructure,” a designation given to “systems and assets . . . so vital to the United States
that [their] incapacity or destruction . . . would have a debilitating impact on security,
national economic security, national public health or safety, or any combination of those
matters.” 42 U.S.C. § 5195c(e); see also, Zoltek Corp. v. United States, 61 Fed. Cl. 12, 15-16
(2004) (classified information about B-2 Bomber even though relevant to the plaintiff’s
claims were protected from disclosure). Similarly, Georgia courts have held that releasing
even portions of the GEMS database including “passwords, encryption codes and other
security information” would “compromise election security”. Smith v. DeKalb County, 288
Ga. App. 574, 577 (2007) (enjoining the release of such information in response to a request
under the Georgia Open Records Act). Detailed information pertaining to the entirety of
the Georgia election system as documented in the privileged Fortalice documents and
materials is clearly protected state secrets and prohibited from disclosure under federal and
state law. The State Defendants also object to the production of the privileged Fortalice
materials on the ground that the materials include the entirety of the Secretary’s information
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                                                                           Adam M. Sparks, Esq.
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technology infrastructure and data centers pertaining to operations and functions of the
Secretary’s office unrelated to elections.

       In light of the highly sensitive nature of the materials and the relative and significant
security concerns at stake, disclosure of the materials is not proportional to the needs of the
case and is beyond the scope of discovery under the Rule 26.


                                            Sincerely,




                                            Bryan P. Tyson
                                            For TAYLOR ENGLISH DUMA LLP

cc:    All counsel of record (by email)
